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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                          )
 O.A., et al.,                            )
                                          )
                 Plaintiffs,              )
                                          )
 v.                                       )   Civil Action No. 1:18-cv-02718-RDM
                                          )
 Donald J. Trump, President of the United )
 States, et al.,                          )
                                          )
                 Defendants.              )
                                          )
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     MOTION FOR A STAY OF BRIEFING AND ADMINSITRATIVE RECORD PRODUCTION
                DEADLINES IN LIGHT OF LAPSE OF APPROPRIATIONS
        Defendants hereby move for a stay of all briefing deadlines in the above-captioned case.
        1.     At the end of the day on December 21, 2018, the appropriations act that had been funding
the Department of Justice expired and appropriations to the Department lapsed. The same is true for
several other Executive agencies, including the federal Defendants in this case. The Department does
not know when funding will be restored by Congress.
        2.     Absent an appropriation, Department of Justice attorneys and employees of the federal
Defendants are prohibited from working, even on a voluntary basis, except in very limited
circumstances, including “emergencies involving the safety of human life or the protection of property.”
31 U.S.C. § 1342.
        3.     Undersigned counsel for the Department of Justice therefore requests a stay of the current
briefing deadlines and the date of production of a certified administrative record until Congress has
restored appropriations to the Department.
        4.     If this motion for a stay is granted, undersigned counsel will notify the Court as soon as
Congress has appropriated funds for the Department. The Government requests that, at that point, all
current deadlines for the parties be extended commensurate with the duration of the lapse in
appropriations.
        5.     Opposing counsel has authorized counsel for the Government to state that the Plaintiffs in
both O.A. and S.M.S.R. take no position on the request for stay of the deadline for production of the
newly certified administrative record, but do not consent otherwise.
        Therefore, although we greatly regret any disruption caused to the Court and the other litigants,
the Government hereby moves for a stay of the current briefing schedule and the date for production of a
newly certified administrative record in this case until Department of Justice attorneys are permitted to
resume their usual civil litigation functions.
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                                   Respectfully submitted,

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Dated: December 26, 2018           Attorneys for Defendants
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                                  CERTIFICATE OF SERVICE
       I hereby certify that on December 26, 2018, I electronically filed the foregoing document with
the Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. Counsel in the case are registered CM/ECF users and service will be accomplished by
the CM/ECF system.

                               By: /s/ Erez Reuveni
                                   EREZ REUVENI
                                   Assistant Director
                                   United States Department of Justice
                                   Civil Division
